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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:13-cv-_________

  LEHMAN BROTHERS HOLDINGS INC,

                  Plaintiff,

  v.

  PMAC LENDING SERVICES, INC., f/k/a PREFERRED MORTGAGE ALLIANCE
  CORP.

                  Defendant.




                                        COMPLAINT


           Plaintiff, Lehman Brothers Holdings Inc. (“LBHI”), by and through its undersigned

  attorneys, and for claims for relief against Defendant PMAC LENDING SERVICES,

  INC., f/k/a PREFERRED MORTGAGE ALLIANCE CORP. (“PMAC”), alleges as follows:

                                    I. NATURE OF ACTION

             1.   At all times relevant hereto, Lehman Brothers Bank, FSB (“LBB,” and

    collectively with LBHI, “Lehman”) purchased mortgage loans from PMAC pursuant to a

    series of written contracts in which PMAC represented and warranted certain facts

    relating to the quality of the loans and the loan underwriting.      LBB subsequently

    assigned its rights under those contracts to LBHI. With respect to certain of these

    mortgage loans, PMAC breached provisions of the contracts because the loans were

    not as represented and, therefore, required that PMAC repurchase from, or indemnify

    Lehman for, the mortgage loans which failed to comply with the parties’ contracts. By

    this action, LBHI seeks to recover money damages for injuries that have been


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   sustained as a result of PMAC’s failure or refusal to honor its obligation to repurchase

   loans and/or indemnify Lehman for its incurred losses.

                                         II. PARTIES

          2.   Plaintiff LBHI is a Delaware corporation with its principal place of business

   in New York, New York.

          3.   Defendant PMAC is a California corporation with its principal place of

   business at 15325 Fairfield Ranch Rd., Suite 200, Chino Hills, CA 91709.

          4.   At all relevant times, PMAC is authorized to do business in Colorado and

   maintains a registered agent in Colorado.

          5.   Upon information and belief, none of the current shareholders in PMAC

   are citizens of Delaware or New York.

                             III. JURISDICTION AND VENUE

          6.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332

   because there is complete diversity of citizenship between Plaintiff LBHI and

   Defendant PMAC, and the amount in controversy exceeds $75,000, exclusive of

   interest and costs.

          7.   Personal jurisdiction comports with due process under the United States

   Constitution and the long-arm statutes of Colorado because PMAC has been

   registered to do business in Colorado since March 9, 2004 and has maintained an

   agent in the state since that time.

          8.   PMAC has purposefully availed itself of the benefit of doing business—

   both with and without Lehman—in Colorado.           On information and belief, PMAC’s

   business in Colorado includes, but is not limited to, mortgage lending operations.




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          9.   On December 31, 2004, PMAC entered into a business relationship with

   the Lehman entities pursuant to which PMAC would sell residential mortgage loans to

   Lehman. That relationship was overseen by Aurora Loan Services, LLC (“Aurora”), a

   Lehman subsidiary based in Littleton, Colorado.

          10. PMAC has had continuous and systematic communication with Lehman

   entities in Colorado, such as Aurora, including with respect to the loans and related

   transactions at issue in this case. This includes: (1) recertification of their ability to

   originate loans; (2) securing delegated underwriting authority, which affected

   Republic’s ability to approve mortgage loans to sell to Lehman with less oversight from

   Lehman; and (3) responding to repurchase demands from Lehman issued by

   Lehman’s agent Aurora from Colorado.

          11. Venue is proper in this district under 28 U.S.C. § 1391(b) because a

   substantial part of the events that give rise to the claims occurred in this District and

   because the division of LBHI that oversees its residential mortgage loss recovery

   program is based in Greenwood Village, Colorado, and thus its witnesses and

   documents are located here.

                              IV. FACTUAL ALLEGATIONS

          12. At all relevant times, Lehman engaged in the purchase and sale of

   mortgage loans.

          13. PMAC engages in mortgage lending, as well as the sale of mortgage

   loans on the secondary market to investors such as Lehman.




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         14. On or about January 22, 2004 and September 1, 2005, PMAC entered into

   a written Loan Purchase Agreement with LBB (“Agreement”). True and correct copies

   of the LPAs are attached hereto as Exhibit 1.

         15. The LPA specifically incorporates the terms and conditions of the Seller's

   Guide of Lehman's agent, Aurora Loan Services LLC, which sets forth additional

   duties and obligations of PMAC.

         16. The Seller's Guide in its entirety is valid and binding upon PMAC.

   Attached hereto as Exhibit 2 are the specific Sections most directly pertinent to the

   claims in this Complaint.

         17. The LPA and the Seller’s Guide (collectively the “Agreement”) set forth the

   duties and obligations of the parties with respect to the purchase and sale of mortgage

   loans, including but not limited to purchase price, delivery and conveyance of the

   mortgage loans and mortgage loan documents, examination of mortgage loan files

   and underwriting, representations and warranties concerning the parties as well as the

   individual mortgage loans purchased or sold, and remedies for breach.

         18. PMAC sold mortgage loans to LBB pursuant to the terms of the

   Agreement and Seller's Guide, including the following loans:

         Borrower: Cubenas, Gervacio

                      Aurora Loan No.:    ******8908

                      PMAC Loan No.:      ******8908

                      Property Address: 950 South Acacia Lane

                                          Rialto, California 92376




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           Borrower: Bernardino, Labiano

                        Auroroa Loan No.: ******3297

                        Property Address: 230 East Flamingo Road 309

                                            Las Vegas, Nevada 89109

  (collectively, the “Loans”).

           19. LBB purchased the Loans from PMAC.

           20. Subsequent to the sale of the Loans by PMAC to LBB, LBB sold the

   Loans to LBHI.

           21. Subsequent or simultaneously with the sale by LBB to LBHI, LBB

   assigned to LBHI all of its rights and remedies under the Agreement pertaining to the

   Loans.

                          Misrepresentation/Underwriting Defects

           22. With respect to each of the loans sold to Lehman under the Agreement

   and Seller's Guide, PMAC made a number of representations, warranties and

   covenants concerning the mortgage loans including, but not limited to the following:

                (a)     the validity of all mortgage loan documentation;

                (b)     the accuracy and integrity of all information and documentation
                        regarding borrower identity, income, employment, credit, assets,
                        and liabilities used in making the decision to originate the mortgage
                        loans;

                (c)     occupancy by the borrowers of the properties securing the
                        mortgage loans;

                (d)     the ownership, nature, condition, and value of the real properties
                        securing the mortgage loans; and




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               (e)   the conformance of the mortgage loans with applicable underwriting
                     guidelines and loan program requirements.

         23. PMAC also represented and/or warranted that no errors, omissions,

   misrepresentations, negligence, fraud, or similar occurrence took place with respect to

   the mortgage loans by any person involved in the origination of the mortgage loans,

   and that no predatory or deceptive lending practices were used in the origination of

   the mortgage loans.

         24. PMAC represented and/or warranted that it had the ability to perform its

   obligations under, and satisfy all requirements of, the Agreement.

         25. Lehman discovered material problems with the Loans and found that

   PMAC had breached representations, warranties and/or covenants under the

   Agreement, including, without limitation, those representations and warranties set forth

   above.

         26. Lehman, through its agent, provided PMAC with notice of PMAC’s

   breaches of representations, warranties, and covenants with respect to the Loans.

         27. The written notices advised PMAC as to the nature of the discovered

   breaches with respect to each Loan. There may be additional breaches that LBHI

   discovered after providing the written notices or has yet to discover which also pertain

   to the Loans.

         28. PMAC failed to repurchase/indemnify as promised.

         29. Misrepresentations contained within the loan files constitute a material

   breach of PMAC’s representations, warranties and covenants contained in the Seller’s

   Guide, including but not limited to the representations and warranties set out in §§

   703(1), 703(12), 703(27), and 703(36):


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        No document, report or material furnished to Purchaser in any Mortgage
        Loan File or related to any Mortgage Loan (including, without limitation,
        the Mortgagor’s application for the Mortgage Loan executed by the
        Mortgager), was falsified or contains any untrue statement of fact or omits
        to state a fact necessary to make the statements contained therein not
        misleading.

        The documents, instruments and agreements submitted for loan
        underwriting were not falsified and contain no untrue statement of material
        fact or omit to state a material fact required to be stated therein or
        necessary to make the information and statements therein not misleading.
        No fraud was committed in connection with the origination of the Mortgage
        Loan. The Seller has reviewed all of the documents constituting the
        Mortgage Loan File and has made such inquiries as it deems necessary to
        make and confirm the accuracy of the representations set forth herein.

        Seller represents that there is no circumstance or condition with respect to
        the Mortgage, the Mortgaged Property, the Mortgagor or the Mortgagor’s
        credit standing, that can reasonably be expected to cause private
        institutional investors to regard the Mortgage Loan as an unacceptable
        investment, cause the Mortgage Loan to become delinquent, or adversely
        affect the value or marketability of the Mortgage Loan.

        Seller hereby represents and warrants that all appraisals and other forms
        of real estate valuation conducted in connection with the Mortgage Loan
        comply [with applicable law] and the requirements of Fannie Mae and
        Freddie Mac….The fair market value of the Mortgaged Property as
        indicated by the property appraisal or valuation is materially accurate.

         30. Lehman purchased the Loans from PMAC in reliance upon PMAC’s

   representations and warranties, as made clear by § 701 of the Seller’s Guide:

        Seller acknowledges that Mortgage Loans are purchased in reliance upon:
        (i) the truth and accuracy of Seller’s representations and warranties set
        forth in the Loan Purchase Agreement and this Seller's Guide, each of
        which representations and warranties relates to a matter material to such
        purchase; and (ii) Seller’s compliance with each of the agreements,
        requirements, terms, covenants and conditions set forth in the Loan
        Purchase Agreement and this Seller's Guide.




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          31. The Agreement, at § 710 of the Seller’s Guide, specifies that Lehman or

   its agent may demand that PMAC repurchase, and that PMAC shall repurchase, any

   mortgage loan that suffers an EPD:

        …if a loan becomes an Early Payment Default in accordance with Section
        715 herein, Seller shall, at Purchaser’s option, repurchase the related
        Mortgage Loan… at the Repurchase Price. Any such repurchase shall
        occur no later than thirty (30) days after the earlier of the date on which
        Purchaser notifies Seller of such breach or the date on which Seller knows
        of such breach.

          32. PMAC acknowledged and agreed that a loan may suffer an EPD in one of

   two ways, as set forth in § 715 of the Seller’s Guide:

        For Mortgage Loans prior-approved by Purchaser (i.e. as to which
        Purchaser underwrote the loan prior to Purchase), a mortgage loan has an
        early payment default if the first monthly payment due Purchaser is not
        made within thirty (30) days of its due date.

        For Mortgage Loans delivered pursuant to Seller’s Delegated Underwriting
        Authority, a Mortgage Loan has an early payment default if either the first
        or second monthly payment due the Purchaser is not made within 30 days
        of each such monthly payment’s respective due date.

          33. PMAC was granted delegated underwriting authority on July 15, 2005.

          34. The breaches discussed above materially and adversely affected the

   value of the Loan and the interests of LBHI causing LBHI to lose over three-hundred,

   fifty thousand dollars ($350,000).

          35. PMAC further promised to indemnify Lehman for any and all losses that in

   any way relate to or result from any act or failure to act or any breach of any warranty,

   obligation, representation, or covenant contained in the Agreement, as set forth in §

   711 of the Seller’s Guide:

        In addition to any repurchase and cure obligations of Seller, and any and
        all other remedies available to Purchaser under this Seller's Guide and the
        Loan Purchase Agreement, Seller shall indemnify Purchaser…from and


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        hold them harmless against all claims, losses, damages, penalties, fines,
        claims, forfeitures, lawsuits, court costs, reasonable attorney's fees,
        judgments and any other costs, fees and expenses that the Purchaser
        may sustain in any way related to or resulting from any act or failure to act
        or any breach of any warranty, obligation, representation or covenant
        contained in or made pursuant to this Seller's Guide or the Loan Purchase
        Agreement.

          36. Finally, as to Loan ****3297, Lehman’s damages include the amount paid

   by Lehman to indemnify a third-party government-sponsored entity (“GSE”) due to the

   breaches of representations and warranties committed by PMAC related to these

   Loans.

          37. PMAC also agreed to pay the reasonable attorneys’ fees incurred by

   Lehman in enforcing PMAC’s obligations, as set forth in § 711 of the Seller’s Guide:

        In addition to any and all other obligations of Seller hereunder, Seller
        agrees that it shall pay the reasonable attorneys’ fees of Purchaser
        incurred in enforcing Seller’s obligations hereunder, including, without
        limitation, the repurchase obligation set forth above.

          38. PMAC has refused or otherwise failed to repurchase the Loans and/or

   indemnify Lehman for losses related thereto, and has otherwise failed to comply with

   its obligations under the Agreement.

          39. PMAC’s failure and refusal to honor its contractual obligations discussed

   above caused LBHI to suffer losses on the Loans which it would not have suffered had

   PMAC honored its obligations.

          40. Pursuant to Section 8 of the Agreement, the laws of the State of New York

   govern this contract action.

          41. All conditions precedent to bringing this action have been met, occurred or

   have been waived.




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                                    V. CLAIMS FOR RELIEF

                                     First Claim for Relief
                                      (Breach of Contract
                                          – all Loans)

          42. LBHI hereby incorporates by reference the allegations set forth above as

   though fully set forth herein.

          43. The Agreement is a valid and enforceable contract that is binding upon

   PMAC.

          44. Lehman, Lehman's agents, and any and all assignees of Lehman's rights

   have substantially performed all of their obligations under the Agreement.

          45. PMAC       breached     the   Agreement    by   breaching   the   contractual

   representations, warranties, and/or covenants relating to the Loans, including but not

   limited to those described above in Section IV above.

          46. PMAC further breached the Agreement by refusing or otherwise failing to

   repurchase the Loans and/or failing to indemnify Lehman for its losses related to the

   Loans.

          47. PMAC’s breaches of the Agreement resulted in actual and consequential

   damages to LBHI in excess of $350,000.00, in an amount to be proven by the

   evidence, to which LBHI is entitled plus prejudgment interest pursuant to New York

   law, attorneys’ fees, litigation costs and all other fees and costs provided by the

   Agreement.




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                                      Second Claim for Relief
                                    (Breach of Express Warranty
                                            – all Loans)

          48. LBHI hereby incorporates by reference the allegations set forth above as

   though fully set forth herein.

          49. PMAC made a number of express warranties with respect to material facts

   concerning the Loans, including but not limited to the warranties described in Section

   IV above.

          50. The warranties contained in the Agreement were an essential part of the

   bargain, and Lehman purchased the Loans in reliance upon the warranties.

          51. PMAC breached one or more of its warranties relating to the Loans.

          52. Lehman, Lehman's agents, and any and all assignees of Lehman's rights

   have substantially performed all of their obligations under the Agreement.

          53. PMAC has refused or otherwise failed to compensate or otherwise

   indemnify LBHI for PMAC’s breach of one or more express warranty.

          54. As a result of PMAC’s breach of one or more express warranty contained

   in the Agreement, LBHI has sustained actual and consequential damages, in an

   amount to be proven by the evidence, to which LBHI is entitled plus prejudgment

   interest pursuant to New York law, attorneys’ fees, litigation costs and all other fees

   and costs provided by the Agreement.




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                               VI. PRAYER FOR RELIEF

        WHEREFORE, LBHI respectfully requests that this Court enter judgment in its

  favor and against defendant PMAC as follows:

              (a) For all damages arising from or relating to PMAC’s breaches of

                  contract, in an amount to be proven at trial;

              (b) For all damages arising from or relating to PMAC’s breach of one or

                  more express warranty, in an amount to be proven at trial;

              (c) For recoverable interest;

              (d) For the costs and expenses incurred by LBHI in enforcing PMAC’s

                  obligations under the Agreement, including reasonable attorneys’ fees

                  and costs and any expert witness fees incurred in litigation; and

              (e) For such other relief as the Court deems just and proper.


  Dated: December 13, 2013
                                              Respectfully submitted,

                                               By:      /s/ Christopher P. Carrington
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